842 F.2d 1293
    Unpublished DispositionNOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Harry S. Vogler, Plaintiff-Appellant,v.James G. MARTIN, Governor;  Aaron Johnson, Secretary ofCorrections, Defendants-Appellees.
    No. 87-6668.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 19, 1988.Decided March 2, 1988.
    
      Harry S. Vogler, appellant pro se.
      Sylvia Hargett Thibaut, Assistant Attorney General, for appellees.
      Before SPROUSE, CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Vogler v. Martin, C/A No. 87-282-CRT (E.D.N.C. Oct. 8, 1987).
    
    
      2
      AFFIRMED.
    
    